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                   Exhibit 3
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 1                IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
 2                           WACO DIVISION

 3   WSOU INVESTMENTS, LLC   *
     DBA BRAZOS LICENSING    * February 21, 2023
 4   AND DEVELOPMENT         *
                             *
 5   VS.                     *   CIVIL ACTION NOS.
                             *
 6   DELL TECHNOLOGIES INC., * W-20-CV-480/481/486
     DELL INC., EMC CORP     *
 7   AND VMWARE INC.         *

 8                BEFORE THE HONORABLE ALAN D ALBRIGHT
                         JURY TRIAL PROCEEDINGS
 9                            Volume 1 of 3

10   APPEARANCES:

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        21      Proceedings recorded by mechanical stenography,

09:01   22   transcript produced by computer-aided transcription.

09:01   23

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09:23    1   that would assist Your Honor.

09:23    2                     THE COURT:     Hold on one second.

09:24    3                     (Off-the-record bench conference.)

09:24    4                     THE COURT:     I think there was an issue

09:24    5   last week, late last week, about the ripeness of them

09:24    6   being available for me to rule on, but I think that's

09:24    7   been overcome by the passage of time.

09:24    8                     And I'm going to overrule all the

09:24    9   objections that were made to Judge Gilliland's reports

09:24   10   and recommendations.

09:24   11                     MR. SHELTON:      Okay.    Thank you, Your

        12   Honor.

09:24   13                     And just one more thing that I should

09:24   14   have mentioned, Your Honor, with respect to the '800

09:24   15   damages issue.

09:24   16                     If Your Honor is inclined to submit the

09:24   17   issue of damages not to this jury, which of course I

09:24   18   strenuously argue that you must under the Constitution,

09:24   19   there should be, of course, no opportunity for this

09:24   20   plaintiff who has made all of its strategic and

09:25   21   tactical decisions throughout this case resulting in

09:25   22   its damages expert being struck, they should have no

09:25   23   opportunity to put in new opinions, new evidence --

09:25   24                     THE COURT:     I think we can take that up.

09:25   25                     MR. SHELTON:      Thank you, Your Honor.



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01:07    1   That's fine.      It's your choice.

01:07    2                     But you're also going to have to reap the

01:07    3   problems that that causes because I have to make sure

01:07    4   the jury understands what is happening.

01:08    5                     And it's a fact that there will be -- I'm

01:08    6   deleting what I think -- I'll say it, I think this is

01:08    7   impermissible.       Defendant asked me to say:          I did not

01:08    8   permit the plaintiff to present evidence regarding

01:08    9   damages for the '800 patent because it's not reliable.

01:08   10                     I don't think that needs to be in there.

01:08   11   I think -- but everything else is, in my opinion,

01:08   12   exactly what the law is and what the -- what's going to

01:08   13   happen in the trial.

01:08   14                     MR. WALDROP:      Your Honor, I understand,

01:08   15   Your Honor.      We object, Your Honor.

01:08   16                     But there's one question, Your Honor,

01:08   17   that may circumvent all of this, Your Honor, which you

01:08   18   kind of hinted at, Your Honor, which may lead to a

01:08   19   reduction in time for the entire proceeding, Your

01:08   20   Honor, and I'm mindful of the Court's time and very

01:08   21   thankful for this opportunity, Your Honor.

01:08   22                     Look, Your Honor.        We only -- if there's

01:08   23   one question or two questions that we cannot ask based

01:08   24   on the Court's rulings this morning, then we may be in

01:08   25   a situation, Your Honor -- and depending on what the



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01:09    1   Court says, that may obviate the need for all of this.

01:09    2                     So I wanted to raise that with Your Honor

01:09    3   because that may put all this aside, if I could.

01:09    4                     If we can't -- if we cannot ask, Your

01:09    5   Honor, our expert, and this is the particular question,

01:09    6   just this question alone:           Does VMware offer hardware

01:09    7   and software in connection with its vSphere 6.5

01:09    8   product?     Is that question permissible or not?

01:09    9                     THE COURT:      What is the defendants'

01:09   10   position?

01:09   11                     MR. ROSENTHAL:        Your Honor, our position

01:09   12   is that's exactly what was ruled on today.                There is no

01:09   13   hardware.

01:09   14                     THE COURT:      I thought so too.

01:09   15                     Yeah.     You are correct, Mr. Waldrop.          I

01:09   16   think that's been the subject of at least four

01:09   17   hearings, maybe five hearings, that have been ruled on

01:09   18   by this Court about that issue.

01:09   19                     MR. WALDROP:       So the only reason why I

01:09   20   was asking, Your Honor, because -- and maybe it was

01:09   21   wrong, Your Honor.        I'm doing the very best I can.           Our

01:09   22   understanding was that the rulings applied to -- your

01:09   23   ruling this morning applied to specific Dell hardware,

01:10   24   not the existence of hardware.

01:10   25                     If that's the case, Your Honor, I think



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01:10    1   we're in a situation, Your Honor, given these rulings,

01:10    2   and we would like to preserve for the record and, Your

01:10    3   Honor, either move to continue or make every

01:10    4   preservation of rights that we can as to the '800 and

01:10    5   '360 patent, make offers of proof.

01:10    6                     In an interest of time, we may not be

01:10    7   able to do all of that now, but I would want to ask for

01:10    8   preservation of all rights for appeal, Your Honor.

01:10    9                     And then maybe make offers of proof after

01:10   10   the jury leaves or however you want to do that, Your

01:10   11   Honor.    We weren't prepared to do that because we had a

01:10   12   different understanding, but we are where we are, Your

        13   Honor.

01:10   14                     And if that's the case, if that's where

01:10   15   we are, Your Honor, because effectively we've been --

01:10   16   effectively the case is over for us on the '360 patent

01:10   17   and the '800 patent by operation of the rulings, Your

01:10   18   Honor, as to almost summary judgment.

01:10   19                     And I have no interest in wasting the

01:11   20   Court's time.      We'll just take this up in a different

01:11   21   way, Your Honor.       And we'll just proceed on the '133

01:11   22   patent.

01:11   23                     THE COURT:     So what I hear you saying is

01:11   24   you would want me to sever out two of the three patents

01:11   25   and allow you to go up to the Circuit and appeal my



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01:11    1   rulings with respect to the Daubert where I struck the

01:11    2   damages and my rulings with respect to what is and is

01:11    3   not admissible with respect to the hardware?

01:11    4                     MR. WALDROP:       They're already separate

01:11    5   cases, Your Honor, I believe, consolidated for trial.

01:11    6                     THE COURT:      So you're asking me to grant

01:11    7   the motion -- you would ask me to grant a motion from

01:11    8   the defendant on those to dismiss them, which would

01:11    9   make them appealable based on my rulings?

01:11   10                     MR. WALDROP:       Your Honor, there's a

01:12   11   couple ways to do it, because we could also

01:12   12   stipulate -- stipulations are also an issue.

01:12   13                     Your Honor, if I could, because like I

01:12   14   said, this was not something -- if I could have one

01:12   15   minute, Your Honor.

01:12   16                     THE COURT:      You can have as much time as

01:12   17   you need.     This is on your clock.

01:12   18                     MR. WALDROP:       Okay.    Well, my case shrank

01:12   19   a lot, Your Honor.        So I want to move fast.

01:12   20                     THE COURT:      Take your time.

01:12   21                     MR. WALDROP:       All right.      Thank you, Your

01:12   22   Honor.     I just need a few seconds, Your Honor, a few

01:12   23   minutes.

01:12   24                     (Pause in proceedings.)

01:18   25                     MR. ROSENTHAL:        Your Honor, it's me.



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01:18    1   Mr. Waldrop and I have just discussed how we think

01:18    2   would be the appropriate way to proceed in this

01:18    3   circumstance.      And we think the appropriate way to

01:18    4   proceed is for us to now make a motion and hear

01:18    5   defendants -- or hear Plaintiff's response.

01:18    6                     Our motion is under Rule 56 we move for

01:18    7   judgment as a matter of law that there is no direct

01:18    8   infringement of the '800 and '360 patents on the basis

01:18    9   that those -- the only asserted claims of those two

01:18   10   patents are apparatus claims.           The only proffered

01:18   11   evidence in this case that is consistent with the

01:18   12   Court's rulings is that of direct sales of software

01:18   13   alone.    And that there is no proffered evidence under

01:18   14   the Court's rulings of the sale of hardware.                And as a

01:18   15   result, there will be no evidence of infringement.                 And

01:19   16   indirect infringement is out of the case.

01:19   17                     We also move for the same basis for

01:19   18   judgment as a matter of law that there are no damages

01:19   19   for those two, or at least that the plaintiff cannot

01:19   20   prove any damages for those two patents on the same

01:19   21   basis, because the damages evidence that they have

01:19   22   proffered in this case is tied entirely to the sale of

01:19   23   software which cannot by law infringe apparatus claims.

01:19   24                     THE COURT:     And in addition to that, on

01:19   25   the '800 the Daubert that I had already granted.



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01:19    1                      MR. ROSENTHAL:        And on that basis as

01:19    2    well, Your Honor.

01:19    3                      THE COURT:      Okay.

01:19    4                      MR. ROSENTHAL:        Thank you.

01:19    5                      THE COURT:      Yes, sir?

01:19    6                      MR. WALDROP:       Your Honor, for the record,

01:19    7    we would oppose that motion, Your Honor.                And we ask

01:19    8    and state that by operation of law, Your Honor, and

01:19    9    your rulings from this morning previously, that we

01:19   10    cannot present a damages case and maybe an infringement

01:19   11    case, Your Honor.        And we ask that you enter in your

01:19   12    findings of fact in this case, Your Honor.

01:19   13                      THE COURT:      A response?

01:20   14                      MR. ROSENTHAL:        Your Honor, I'm not sure

01:20   15    how an opposition plays here.             Either they're going to

01:20   16    present the evidence --

01:20   17                      THE COURT:      That's what I think as well.

01:20   18                      MR. ROSENTHAL:        -- or they're not.

        19                      THE COURT:      Right.

01:20   20                      MR. ROSENTHAL:        And if the answer is that

01:20   21    they're not, then there is no basis to oppose.                     So we

01:20   22    think it ought to be dismissed with prejudice.

01:20   23                      THE COURT:      What you have to put on the

01:20   24    record, Counsel -- I understand you're opposing the

01:20   25    motions.     But if there's anything substantive with



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01:20    1    which you disagree about what Counsel just said -- and

01:20    2    I understand you blame the Court for it and that's

01:20    3    fine, the rulings of the Court for the situation you're

01:20    4    in.

01:20    5                     But what I heard Mr. Rosenthal say, I

01:20    6    think you've articulated very clearly on the record

01:20    7    that given my rulings, both with respect to the

01:20    8    hardware and with respect to the Daubert on just the

01:21    9    '800, that a motion -- if my -- if my rulings were

01:21   10    correct -- which Plaintiff disagrees with on the

01:21   11    record -- but if my rulings were correct, then you are

01:21   12    unable to put on evidence that would support a finding

01:21   13    of infringement or damages on -- and I've already -- my

01:21   14    brain's already gone -- on the '800 and the --

01:21   15                     MR. ROSENTHAL:        '360, Your Honor.

01:21   16                     THE COURT:      '360 patent.

01:21   17                     Do you agree with that?

01:21   18                     MR. WALDROP:       Yes, Your Honor.        We

01:21   19    cannot.

01:21   20                     THE COURT:      Okay.     Then I'm going to

01:21   21    grant those motions.        Which what I -- now, let me ask

01:21   22    you all this.

01:21   23                     And you can start, Mr. Waldrop, just

01:21   24    because you're up.

01:21   25                     I doubt the jury was dramatically



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 1    UNITED STATES DISTRICT COURT )

 2    WESTERN DISTRICT OF TEXAS             )

 3

 4

 5                     I, Kristie M. Davis, Official Court

 6    Reporter for the United States District Court, Western

 7    District of Texas, do certify that the foregoing is a

 8    correct transcript from the record of proceedings in

 9    the above-entitled matter.

10                     I certify that the transcript fees and

11    format comply with those prescribed by the Court and

12    Judicial Conference of the United States.

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14    February 2023.

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